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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------------ x   No. 23-CV-3825
  MALIK MCCAIN,
                                                  Plaintiff,
                                                                               NOTICE OF REMOVAL

                                   -against-
  THE CITY OF NEW YORK; METROPOLITAN
  TRANSPORTATION AUTHORITY; OFFICER JOHN
  DOE; OFFICER JANE DOE; WAILOK WONG,
  SHIELD NO. 12002; JASON F. FARRELL, SHIELD NO.
  19867,
                                                  Defendants,
  -------------------------------------------------------------------------x




                              EXHIBIT A
  Summons and Verified Complaint filed in the Supreme Court of the State of
                        New York, Queens County
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF QUEENS

          MALIK MCCAIN,

                Plaintiff,                                           Index No.:

             -against-                                               SUMMONS

          THE CITY OF NEW YORK;                                      Plaintiff designates Queens County as
          METROPOLITAN TRANSPORTATION                                the place of trial
          AUTHORITY; OFFICER JOHN DOE;
          OFFICER JANE DOE; WAILOK WONG,
          SHIELD NO. 12002; JASON F.
          FARRELL, SHIELD NO. 19867,

                Defendants.


         To the above-named Defendants:

                  You are hereby summoned to answer the complaint in this action, and to serve a copy of
         your answer, or, if the complaint is not served with this summons, to serve a notice of appearance
         on the Plaintiff's attorney(s) within twenty days after the service of this summons, exclusive of the
         day of service, where service is made by delivery upon you personally within the state, or, within
         30 days after completion of service where service is made in any other manner. In case of your
         failure to appear or answer, judgment will be taken against you by default for the relief demanded
         in the complaint.

           The basis of venue is the location where the claims arose.

                 Dated: New York, New York
                        April 20, 2023



                                                               By:

                                                                        Sara Wolkensdorfer

                                                               14 Wall Street, Suite 1603
                                                               New York, NY 10005
                                                               Phone: (212) 300-6506
                                                               Fax: (888) 390-5401
                                                               Attorney for Claimant




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         TO:

         THE CITY OF NEW YORK
         New York City law Department
         100 Church Street
         New York, New York 10007

         Metropolitan Transportation Authority
         General Counsel
         2 BROADWAY
         New York, New York 10017

         Officer Wailok Wong, Sheild No. 12002
         NYPD 100th Precinct
         92-24 Rockaway Beach Blvd, Queens, NY 11693

         Jason F. Farrell, Shield No. 19867
         NYPD 100th Precinct
         92-24 Rockaway Beach Blvd, Queens, NY 11693




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF QUEENS

          MALIK MCCAIN,

                Plaintiff,                                         Index No.:

             -against-                                             VERIFIED COMPLAINT

          THE CITY OF NEW YORK;
          METROPOLITAN TRANSPORTATION
          AUTHORITY; OFFICER JOHN DOE;
          OFFICER JANE DOE; WAILOK WONG,
          SHIELD NO. 12002; JASON F.
          FARRELL, SHIELD NO. 19867,

                Defendants.



                Plaintiff MALIK MCCAIN, by his attorneys, Rickner PLLC, complaining of the

         Defendants, alleges, upon information and belief and personal knowledge:


                                            NATURE OF THE CASE


                1. This is a civil rights action brought against the City of New York and members of the

         New York City Police Department (“NYPD”) and the Metropolitan Transportation Authority

         Police Department (“MTA”), who violated Plaintiff’s rights under the Constitution of the United

         States and the Constitution of the State of New York and committed torts actionable under the

         common laws and statutes of the State and New York.


                                                 JURISDICTION


                2. This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988 for violations of Plaintiffs

         rights under the Fourth, Fifth and Fourteenth Amendments to the Constitution of the United States.

                3. An award of costs and attorneys' fees is authorized pursuant to 42 U.S.C. § 1988.




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                4. Venue is properly laid in the Supreme Court of the State of New York, County of

         Queens, because the Plaintiff’s claims arose in the County of Queens.

                5. Plaintiff has been damaged in a sum which exceeds the jurisdictional limits of all lower

         courts which would otherwise have jurisdiction.


                                                     PARTIES


                6. Plaintiff is, and was at all times relevant to this action, a resident of Queens County in

         the State of New York.

                7. Defendant the City of New York is a municipal entity created and authorized under the

         laws of the State of New York. It is authorized by law to maintain a police department that acts as

         its agent in the area of law enforcement and for which it is ultimately responsible.

                8. Defendant the City of New York assumes the risks incidental to the maintenance of a

         police force and the employment of police officers as said risks attach to the public consumers of

         the services provided by the NYPD.

                9. Defendant Metropolitan Transportation Authority (“MTA”) is a public authority

         operating under and by virtue of the laws of the State of New York. It is authorized to maintain a

         police force that acts as its agent in the area of law enforcement and for which it is ultimately

         responsible.

                10. Defendant MTA assumes the incidental risk to the maintenance of its police force and

         the employment of MTA police officers as said risks attach to the public consumers of the services

         provided by the MTA.

                11. Defendant Officer Wailok Wong (Shield No. 12002) (hereinafter “Wong”) was at all

         relevant times described herein an NYPD officer, employed by the City of New York. At all




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         relevant times described herein he was acting under color of New York state law and acting in the

         course and scope of his duties. He is sued in his individual capacity.

                12. Officer Wong is entitled to indemnification by the City of New York under New

         York law for any liability arising from his conduct described herein.

                13. Officer Wong is entitled to indemnification by the City of New York pursuant to

         contract for any liability arising from his conduct described herein.

                14. Defendant Officer Jason F. Farrell (Shield No. 19867) (hereinafter “Farrell”) was at

         all relevant times described herein an NYPD officer, employed by the City of New York. At all

         relevant times described herein he was acting under color of New York state law and acting in the

         course and scope of his duties. He is sued in his individual capacity.

                15. Officer Farrell is entitled to indemnification by the City of New York under New York

         law for any liability arising from his conduct described herein.

                16. Officer Farrell is entitled to indemnification by the City of New York pursuant to

         contract for any liability arising from his conduct described herein.

                17. Defendant Officer John Doe (Shield No. Unknown) was at all relevant times described

         herein an MTA police officer. At all relevant times described herein he was acting under color of

         New York state law and acting in the course and scope of the duties attendant to that employment.

         He is sued in an individual capacity.

                18. Defendant Officer Jane Doe (Shield No. Unknown) was at all relevant times described

         herein an MTA police officer. At all relevant times described herein she was acting under color of

         New York state law and acting in the course and scope of the duties attendant to that employment.

         She is sued in an individual capacity.




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                19. Collectively Officer Wong, Officer Farrell, Officer John Doe, and Officer Jane Doe

         are referred to as the “Individual Defendants.”

                20. At all times relevant herein, the Individual Defendants were acting under color of state

         law in the course and scope of their duties and functions as agents, servants, employees and officers

         of NYPD/MTA and otherwise performed and engaged in conduct incidental to the performance of

         their lawful functions in the course of their duties. They were acting for and on behalf of the

         NYPD/MTA at all times relevant herein, with the power and authority vested in them as officers,

         agents and employees of the NYPD/MTA and incidental to the lawful pursuit of their duties as

         officers, employees and agents of the NYPD/MTA.

                21. At all relevant times, the Individual Defendants were engaged in a joint venture,

         assisting each other in performing the various actions described herein and lending their physical

         presence and support and the authority of their offices to one another.


                            THE VIOLATION OF PLAINTIFF’S CIVIL RIGHTS


                22. On August 6, 2021 at some time between 8:00 a.m. and 8:30 a.m., Plaintiff was inside

         Pickles & Pie Food Market & Deli, 202 Beach 116th Street, Queens, New York 11694, when he

         was assaulted by an employee.

                23. Shortly thereafter, Defendant Officers John and Jane Doe of the MTA police

         department, who had been at a nearby bus station and overheard the assault, came into the store to

         investigate.

                24. Plaintiff told the officers that he had been assaulted, showed them his bleeding lip, and

         implored them to watch the surveillance footage in the Deli for proof of the attack.

                25. Defendant Officer John Doe told Plaintiff he did not need to watch the footage and

         proceeded to grab him by the chest and threw him against the wall without explanation.




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                26. Defendant Officer Jane Doe was told by a witness that an employee of the deli had

         attacked Plaintiff, but she did not take a witness statement or ask the witness to stay until the NYPD

         arrived.

                27. Plaintiff was detained by Defendant John and Jane Doe officers until Defendant

         Officers Wong and Farrell arrived, at which point both he and the deli employee were arrested.

                28. Officer Wong forcefully threw Plaintiff into the back of an NYPD vehicle and he was

         transported to the 100th Precinct.

                29. At approximately 9:45 a.m., Plaintiff was taken to Saint John’s Episcopal Hospital

         where he received sutures for a laceration to his lip.

                30. After treatment, Plaintiff was taken back to the 100th Precinct until being transported

         to Central Bookings and eventually arraigned the following day.

                31. On or around November 9, 2021, nearly three months later, the wrongful charges

         against Plaintiff were dismissed and sealed.


                       THE INDIVIDUAL OFFICERS’ HISTORY OF MISCONDUCT


                32. Officer Wong has a history of violating people’s civil rights while employed by the

         NYPD, including one Civilian Complaint Review Board (“CCRB”) complaint for discourtesy and

         substantiated Internal Affairs Bureau (“IAB”) charges for failure to conduct proper Precinct

         Property Inventory when a vouchered evidentiary item went missing and failure to accurately

         complete a property clerk invoice concerning a controlled substance.

                33. Despite these repeated incidents of misconduct, the City of New York of New York

         has failed to meaningfully discipline or properly supervise Officer Wong.

                34. The disciplinary history of Officers Jane and John Doe are currently unknown.




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                                         THE INJURIES TO PLAINTIFF


                35. This action seeks damages on behalf of Plaintiff for the extraordinary emotional pain

         and suffering, loss of liberty, and injuries to his person, that Plaintiff was forced to endure as a

         consequence of the Individual Defendants’ decidedly wrongful actions.

                36. The Individual Defendants’ actions were wanton, reckless, and malicious, as well as

         in blatant disregard of Plaintiff’s civil rights, and as such the Individual Defendants are liable for

         punitive damages.

                37. All of the causes of action pleaded herein fall within one or more of the exceptions set

         forth in New York's Civil Practice Law & Rules 1602 with respect to joint and several liability.


                                     FIRST CLAIM FOR RELIEF:
                                 EXCESSIVE FORCE UNDER 42 U.S.C. § 1983
                                 AGAINST THE INDIVIDUAL DEFENDANTS


                38. Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in the

         above paragraphs with the same force and effect as if fully set forth herein.

                39. The Individual Defendants used physical force against Plaintiff.

                40. Plaintiff's seizure and detention at the hands of the Individual Defendants was made

         in the absence of probable cause. The unwanted physical contact was therefore unlawful and

         unconstitutional.

                41. Even assuming arguendo that Plaintiff's arrest was lawful, the Individual Defendants

         engaged in the use of force that was excessive, malicious, gratuitous, and with the intention of

         inflicting physical and emotional harm to plaintiff.

                42. That by virtue of the aforementioned acts by the Individual Defendants, Plaintiff was

         deprived civil rights guaranteed under the Fourth Amendment to the United States Constitution to




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         be free from unreasonable or unlawful searches and seizures, and the Individual Defendants

         therefore are liable to Plaintiff for damages under 42 U.S.C. § 1983.

                43. As a result of the above unconstitutional conduct, Plaintiff was caused to suffer

         physical, economic, and emotional injuries.

                44. As a result of the above unconstitutional conduct, the Individual Defendants are liable

         for punitive damages.


                                   SECOND CLAIM FOR RELIEF:
                                  FALSE ARREST UNDER 42 U.S.C. § 1983
                                 AGAINST THE INDIVIDUAL DEFENDANTS


                45. Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in the

         above paragraphs with the same force and effect as if fully set forth herein.

                46. The Individual Defendants restrained and arrested Plaintiff without probable cause.

                47. That by virtue of the aforementioned acts by the Individual Defendants, Plaintiff was

         deprived of civil rights guaranteed under the Fourth Amendment to the United States Constitution

         to be free from unreasonable or unlawful searches and seizures, and the Individual Defendants

         therefore are liable to Plaintiff for damages under 42 U.S.C. § 1983.

                48. As a result of the above unconstitutional conduct, Plaintiff was caused to suffer

         physical, economic, and emotional injuries, as well as a deprivation of liberty.

                49. As a result of the above unconstitutional conduct, the Individual Defendants are liable

         for punitive damages.




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                              THIRD CLAIM FOR RELIEF:
                PROSECUTION WITHOUT PROBABLE CAUSE UNDER 42 U.S.C. § 1983
                          AGAINST THE INDIVIDUAL DEFENDANTS


                50. Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in the

         above paragraphs with the same force and effect as if fully set forth herein.

                51. The Individual Defendants initiated a prosecution against Plaintiff without probable

         cause and that prosecution resolved in a complete dismissal of the charges, in favor of Plaintiff.

                52. That by virtue of the aforementioned acts by the Individual Defendants, Plaintiff was

         deprived of civil rights guaranteed under the Fourth Amendment to the United States Constitution

         to be free from unreasonable or unlawful searches and seizures, and the Individual Defendants are

         therefore liable to Plaintiff for damages under 42 U.S.C. § 1983.

                53. As a result of the above unconstitutional conduct, Plaintiff was caused to suffer

         physical, economic, and emotional injuries, as well as a deprivation of liberty.

                54. As a result of the above unconstitutional conduct, the Individual Defendants are liable

         for punitive damages.


                                 FOURTH CLAIM FOR RELIEF:
                           DUE PROCESS VIOLATIONS UNDER 42 U.S.C. § 1983
                              AGAINST THE INDIVIDUAL DEFENDANTS


                55. Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in the

         above paragraphs with the same force and effect as if fully set forth herein.

                56. The Individual Defendants provided false evidence and statements to the prosecution,

         defense counsel, and court, including that Plaintiff obstructed the breathing or circulation of blood

         of another person.




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                57. The Individual Defendants withheld exculpatory evidence from the prosecution,

         defense counsel, and court, including the statement made by a witness that Plaintiff was the

         individual assaulted.

                58. That by virtue of the aforementioned acts by the Individual Defendants, Plaintiff was

         deprived of due process and trial rights guaranteed under the Fifth, Sixth, and Fourteenth

         Amendments to the United States Constitution to be free from prosecution based on false

         statements and under Brady v. Maryland, 373 U.S. 83 (1963), and the Individual Defendants are

         therefore liable to Plaintiff for damages under 42 U.S.C. § 1983.

                59. As a result of the above unconstitutional conduct, Plaintiff was caused to suffer

         physical, economic, and emotional injuries, as well as a deprivation of liberty.


                                 FIFTH CLAIM FOR RELIEF:
                         MONELL CLAIMS AGAINST THE CITY OF NEW YORK


                60. Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in the

         above paragraphs with the same force and effect as if fully set forth herein.

                61. The City of New York is liable for the conduct of the Individual Defendants under

         Monell v. Department of Soc. Svcs., 436 U.S. 658 (1978) because the driving force behind these

         constitutional violations were the de facto and explicit policies and practices of the NYPD,

         MTAPD, and the City of New York.

                62. As a result, the City of New York is liable for any damages caused, except for punitive

         damages.

                WHEREFORE, Plaintiff demands the following relief jointly and severally against all of

         the Individual Defendants, as well as the City of New York:

                        a.       Compensatory damages;
                        b.       Punitive damages;




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                      c.    The convening and empaneling of a jury to consider the merits of the
                            claims herein;
                      d.    Costs and interest and attorney’s fees;
                      e.    Such other and further relief as this court may deem appropriate and
                            equitable.

         Dated: New York, New York
                     April 20, 2023



                                                         By:

                                                                 Sara Wolkensdorfer

                                                         14 Wall Street, Suite 1603
                                                         New York, NY 10005
                                                         Phone: (212) 300-6506
                                                         Fax: (888) 390-5401
                                                         Attorney for Claimant




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                                          ATTORNEY'S VERIFICATION

         I, Sara Wolkensdorfer, an attorney duly admitted to practice before the Courts of the State of New

         York, affirm the following to be true under the penalties of perjury:

                  1) I am the attorney of record for the Plaintiff.

                  2) I have read the annexed Verified Complaint and know the contents thereof, and the same

         are true to my knowledge, except those matters therein which are alleged upon information and

         belief, and as to those matters, I believe them to be true. My beliefs, as to those matters therein not

         stated upon knowledge, are based upon facts, records, other pertinent information contained in my

         files.

                  3) This verification is made by me because Plaintiff does not reside in the County where I

         maintain my offices.

                  Dated: New York, New York
                         April 20, 2023



                                                                 By:

                                                                        Sara Wolkensdorfer

                                                                 14 Wall Street, Suite 1603
                                                                 New York, NY 10005
                                                                 Phone: (212) 300-6506
                                                                 Fax: (888) 390-5401
                                                                 Attorney for Claimant




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